      Case 6:20-cv-01217-ACC-DCI Document 16 Filed 04/15/21 Page 1 of 2 PageID 161



                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                              ORLANDO DIVISION

                                             CASE No.: 6:20-cv-01217-ACC-DCI
TAVIA WAGNER,

         Plaintiff,
vs.

GINIYA INTERNATIONAL
CORPORATION, et al.,

     Defendant.
_________________________________________/

       STIPULATION OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE

         Plaintiff TAVIA WAGNER, by and through her undersigned counsel, hereby files

this Stipulation of Voluntary Dismissal, without prejudice, of this action, against

Defendant, GINIYA INTERNATIONAL CORPORATION.

Respectfully submitted this 15th day of April 2021.


      By: /s/Joe M. Quick, Esq.
         Joe M. Quick, Esq.
         Florida Bar No.: 0883794
         Law Offices of Joe M. Quick, P.A.
         Counsel for Plaintiff
         1224 S. Peninsula Drive #619
         Daytona Beach, Florida 32118
         Tel: (386) 212-3591
         E-mail:JMQuickesq@gmail.com




                                             1
   Case 6:20-cv-01217-ACC-DCI Document 16 Filed 04/15/21 Page 2 of 2 PageID 162



                              CERTIFICATE OF SERVICE

       I hereby certify that on this 15th day of April 2021, I electronically filed the foregoing
with the Clerk of Court by using the CM/ECF system. I also certify that the aforementioned
document is being served on all counsel of record, corporation, or pro se parties via
transmission of Notices of Electronic Filing generated by CM/ECF or in some other
authorized manner for those counsel or parties who are not authorized to receive
electronically Notices of Filing.



                                             By: /s/Joe M. Quick, Esq.
                                             Joe M. Quick, Esq.
                                             Florida Bar No.: 0883794
                                             Attorney for Plaintiff
                                             Law Offices of Joe M. Quick, P.A.
                                             1224 S. Peninsula Drive #619
                                             Daytona Beach, Florida 32118
                                             Tel: (386) 212-3591
                                             E-mail:JMQuickesq@gmail.com




                                               2
